Case 3:06-cr-00066-LC-EMT   Document 199   Filed 09/27/06   Page 1 of 6
Case 3:06-cr-00066-LC-EMT   Document 199   Filed 09/27/06   Page 2 of 6
Case 3:06-cr-00066-LC-EMT   Document 199   Filed 09/27/06   Page 3 of 6
Case 3:06-cr-00066-LC-EMT   Document 199   Filed 09/27/06   Page 4 of 6
Case 3:06-cr-00066-LC-EMT   Document 199   Filed 09/27/06   Page 5 of 6
Case 3:06-cr-00066-LC-EMT   Document 199   Filed 09/27/06   Page 6 of 6
